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                                                                                                      E-FILED
                                                                           Friday, 09 April, 2021 10:54:12 AM
                                                                                Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS

ROBERT MISITANO, Independent                          )
Administrator Estate of Bobby Joe James, Sr.,         )
Deceased,                                             )
                                                      )
                       Plaintiff,                     )
              v.                                      )       Case No. 20- 3308-MMM
                                                      )
WEXFORD HEALTH SOURCES, INC.,                         )
et al.,                                               )
                                                      )
                       Defendants.                    )

                                                ORDER

       Defendant Wexford Health Sources Inc. has filed a Motion to Dismiss some, but not all,

of the allegations directed against it in Count VI of Plaintiff’s Complaint. [ECF 10]. Plaintiff,

represented by counsel, has filed a response. After due consideration, the Court hereby

GRANTS Defendant’s Motion to Dismiss, dismissing the respondeat superior claims alleged

pursuant to 42 U.S.C. § 1983, and allowing the state court respondeat superior claims to

proceed.

                                               STANDARD

       A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure

challenges the sufficiency of the complaint to state a claim upon which relief may be granted.

See Fed. R. Civ. Pro. 12(b)(6). To avoid dismissal, Plaintiff’s claim must contain allegations that

“state a claim to relief that is plausible on its face.” Alam v. Miller Brewing Co., 709 F.3d 662,

665 (7th Cir. 2013). The factual allegations in the complaint must be sufficient to raise the

possibility of relief above the “speculative level.” EEOC v. Concentra Health Servs., Inc., 496

F.3d 773, 776 (7th Cir. 2007), quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In

reviewing the sufficiency of a complaint under the plausibility standard, this court must accept

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the well-pleaded facts in the complaint as true. Alam, 709 F.3d at 665-66; Twombly, 550 U.S. at

555-556 (2007).

                                               ANALYSIS

        In Count VI, Plaintiff pleads a respondeat superior claim against Wexford under

 federal law as well as state law. Defendant’s motion to dismiss addresses only the federal

 respondeat superior claim. There, Defendant asserts that its potential liability for

 constitutional injury is limited by Monell v. New York City Department of Social Services,

 436 U.S. 658, 691-92 (1978) (finding that municipality liable may attach where a

 constitutional injury results from a municipality’s policy or practice). See Iskander v. Village

 of Forest Park, 690 F.2d 126, 128 (7th Cir. 1982) (applying Monell liability to private

 corporations performing governmental functions). As Defendant correctly asserts, under the

 current state of the law, Wexford has no potential liability under §1983 for the misdeeds of its

 employees, as a defendant is only responsible for its own misdeeds, not those of others. Lewis

 v. City of Chicago, 496 F.3d 645, 656 (7th Cir. 2007).

       Plaintiff has filed a response, admitting that it has asserted both the aforementioned

federal and state-law respondeat superior claims against Wexford. Plaintiff, however, points to

dicta in Shields v. Illinois Dept. of Corr., 746 F.3d 782, 793 (7th Cir. 2014) which questioned

whether § 1983 should continue to be applied to shield private employers from respondeat

superior liability. The Seventh Circuit, however, did not decide this issue, finding that Plaintiff

had credibly demonstrated a Monell claim, that he had been harmed though a policy of

defendant. Although given the opportunity, the Seventh Circuit has not revisited this issue,

stating in Wilson v. Wexford Health Sources, Inc., 932 F.3d 513, 522 (7th Cir. 2019) “[b]ut we

declined to hear Shields en banc and since then we have chosen to leave Iskander undisturbed.”



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See Iskander at 128 (“a private corporation is not vicariously liable under § 1983 for its

employees’ deprivations of others’ civil rights.”) See also, Barrow v. Wexford, 816 Fed.Appx. 1,

5 (7th Cir. 2020) (refusing to “overrule circuit precedent and allow for corporations to be

vicariously liable under § 1983 for their employees’ unlawful acts.”) Consistent with Barrow,

this Court sees not reason to overrule current precedent so as to recognize respondeat superior

liability for a private corporation under § 1983.

       IT IS THEREFORE ORDERED:

       Defendant’s motion to dismiss those allegations of Count VI asserting a § 1983

respondeat superior claim [ECF 10], is GRANTED. The state court respondeat superior claim

will remain.



 4/9/2021
____________                                        ____s/ Michael M. Mihm ______
ENTERED                                                  MICHAEL M. MIHM
                                                    UNITED STATES DISTRICT JUDGE




                                                    3
